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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                  )
In re:                                            )    Chapter 11
                                                  )
TERRESTAR NETWORKS INC., et al.,                  )
                                                  )    Case No. 10-15446 (SHL)
                              Debtors.            )
                                                  )    Jointly Administered
                                                  )
SPRINT NEXTEL CORPORATION,                        )    Adv. Pro. No. 10-05461 (SHL)
                                                  )
                              Plaintiff.          )
                                                  )
                       v.                         )
                                                  )
U.S. BANK NATIONAL ASSOCIATION,                   )
in its capacity as Indenture Trustee and          )
Collateral Agent for the 15% Senior Secured       )
Payment-in-Kind Notes due 2014                    )
                                                  )
                              Defendant.          )

 STIPULATION AND ORDER AUTHORIZING THE INTERVENTION OF DEBTORS,
          THE OFFICIAL COMMITTEE, AND THE AD HOC GROUP

         Plaintiff Sprint Nextel Corporation (“Sprint Nextel”) and Defendant U.S. Bank National

Association, in its capacity as Indenture Trustee and Collateral Agent for the 15.0% Senior

Secured Payment-In-Kind Notes due 2014 (“U.S. Bank”), and proposed intervenors Terrestar

Networks, Inc. and certain of its affiliates (“Debtors”), the Official Committee of Unsecured

Creditors (the “Official Committee”), and the Ad Hoc Group of Holders of 15% Senior Secured

Notes (the “Ad Hoc Group” and together with Sprint Nextel, U.S. Bank, the Debtors, and the

Official Committee, the “Parties”) by and through their counsel, hereby enter into this

stipulation (“Stipulation”), dated January 11, 2011:

         WHEREAS, on October 19, 2010, the Debtors filed voluntary petitions for relief under

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States
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Bankruptcy Court for the Southern District of New York (the “Terrestar Bankruptcy

Proceeding”);

       WHEREAS, on December 17, 2010, Sprint Nextel commenced the above-captioned

adversary proceeding (the “Adversary Proceeding”) seeking a declaration regarding the priority,

scope, validity, and enforceability of any security interests granted by Terrestar Networks, Inc.

and certain of its affiliates in licenses, authorizations, waivers, permits and other related

regulatory approvals (collectively, the “FCC Licenses”) granted by the Federal Communications

Commission and the proceeds and value derived from the FCC Licenses;

       WHEREAS, the Official Committee is the duly-appointed Official Committee of

Unsecured Creditors in the Terrestar Bankruptcy Proceeding;

       WHEREAS, the Ad Hoc Group consists of nineteen holders of approximately $335

million of Terrestar Networks, Inc.'s 15.0% Senior Secured Payment-In-Kind Notes due 2014;

        WHEREAS, each of the Debtors, the Official Committee, and the Ad Hoc Group is a

“party in interest” as that term is defined in Section 1109(b) of the Bankruptcy Code; and

       WHEREAS, each of the Debtors, the Official Committee, and the Ad Hoc Group asserts

that it is entitled to intervene as of right in the Adversary Proceeding pursuant to Federal Rule of

Civil Procedure 24 as made applicable to adversary proceedings by Bankruptcy Rule 7024, and

has timely requested to intervene.


       NOW, IT IS THEREFORE STIPULATED AND AGREED by the Parties that (i) the

Official Committee is authorized to intervene as a plaintiff, and the Debtors and the Ad Hoc

Group are authorized to intervene as defendants, in the Adversary Proceeding for all purposes,

and (ii) the Parties shall not consent to any other purported “party in interest” intervening in the

Adversary Proceeding.



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       IT IS FURTHER STIPULATED AND AGREED by the Parties that nothing in this

Stipulation shall preclude the Debtors and the Official Committee from fulfilling their respective

fiduciary duties.




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                                              /s/ Darryl S. Laddin
Dated: January 11, 2011                      Darryl S. Laddin
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                                             Counsel to U.S. Bank National
                                             Association, as Indenture Trustee and
                                             Collateral Agent


New York, New York                            /s/ Ira S. Dizengoff
Dated: January 11, 2011                      Ira S. Dizengoff
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                                             Possession




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New York, New York                           /s/ Christopher T. Greco
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                                             and

                                             Patrick J. Nash, Jr. (admitted pro hac vice)
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                                             15% Senior Secured Notes




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New York, New York                            /s/ David M. Posner
Dated: January 11, 2011                      Scott L. Hazan
                                             David M. Posner
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                                             Counsel to the Official Committee of
                                             Unsecured Creditors

SO ORDERED


New York, New York                                /s/ Sean H. Lane


Date: January 14, 2011                            Honorable Sean H. Lane
                                                  United States Bankruptcy Judge




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